           Case 2:10-md-02179-CJB-DPC Document 5959-6 Filed 03/05/12 Page 1 of 2



AO 440 (Rev. 12/09) Summons in a Civil Action


                                     United States District Court
                                                                for the

                                                     Eastern District of Louisiana


                  The Delaney Group, Inc.

                             Plaintiff

                                                                          Civil Action No.   2:12-cv-00248-CJB-SS
            BP Exploration and Production, Inc.

                            Defendant


                                                  SUMMONS IN A CIVIL ACTION


To: (Defendant's nameandaddress) TRANSOCEAN DEEPWATER DRILLING
                                         THROUGH ITS AGENT FOR SERVICE
                                         CAPITOL CORPORATE SERVICES
                                         800 BRAZOS ST SUITE 400
                                         AUSTIN TX 78701




          A lawsuit has been filed against you.

          Within 21 days after serviceof this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiffor plaintiffs attorney,
whose name and address are:              Thomas C. Cowan
                                         Leah A. Taschek
                                         Cowan & Lemmon, L.L.P.
                                         650 Poydras Street, Suite 2315
                                         New Orleans, LA 70130



          Ifyou fail to respond, judgment by default will beentered against you forthe reliefdemanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT



Date:
                                                                                        Signature ofClerk or DeputyClerk
            Case 2:10-md-02179-CJB-DPC Document 5959-6 Filed 03/05/12 Page 2 of 2


AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 Civil Action No. 2:12-cv-00248-CJB-SS


                                                            PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name ofindividual andtitle, ifany)
 was received by me on (date)


           D I personally served the summons on the individual at (place)
                                                                                   on (date)                          ; or


           D I left the summons at the individual's residence or usual place of abode with (name)
                                                                , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

           D I served the summons on (name ofindividual)                                                                       , who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                   on (date)                          ; or

           D I returned the summons unexecuted because                                                                              ; or

           •   Other (specify):




           My fees are $                            for travel and $                 for services, for a total of $          o.OO


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                          Server's signature



                                                                                        Printed name and title




                                                                                          Server's address


 Additional information regarding attempted service, etc:
